           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 1 of 15




                         THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

SPRINT COMMUNICATIONS COMPANY L.P., )
                                    )
                      Plaintiff,    )
                                    )
          v.                        )
                                    )
VONAGE HOLDINGS CORP.,              )                   Case No. 05-2433-JWL
VONAGE AMERICA, INC.,               )
                                    )
                      Defendants.   )
                                    )
                                    )
                                    )
                                    )




SPRINT’S RESPONSE IN OPPOSITION TO VONAGE’S TRIAL BRIEF REGARDING
         THE APPLICATION OF THE DOCTRINE OF EQUIVALENTS

                Plaintiff Sprint Communications Company L.P. (“Sprint”) respectfully submits its

response to Vonage’s allegations that Sprint is barred from asserting infringement under the

doctrine of equivalents.    For the reasons set forth below, Vonage’s allegations are legally

unsound and unsupported by the factual record. Accordingly, Vonage’s arguments regarding the

doctrine of equivalents should be rejected.

        I.      VONAGE’S PROSECUTION HISTORY ARGUMENTS REGARDING
                THE‘301 FAMILY PATENTS FAIL AS A MATTER OF LAW

                Vonage attempts to limit the application of the doctrine of equivalents to the ‘301

Family Patents based on the prosecution history of the ‘605 Family Patents. See Doc. No. 354 at

17-21. Vonage’s arguments fail for at least three separate reasons. First, Vonage incorrectly

assumes that the ‘301 Family Patents claim priority to the ‘605 Family Patents. Though the ‘301

Family Patents did, at one time, claim priority to the ‘605 Family Patents, this claim of priority

was made in error, and the Patent and Trademark Office (“PTO”) issued Certificates of



254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 2 of 15




Correction that conclusively establish that the ‘301 Family Patents are not related to the ‘605

Family Patents. Second, Vonage’s prosecution history arguments fail because the purported

prosecution disclaimers cited by Vonage relate solely to claim limitations that are not found in

the asserted claims of the ‘301 Family Patents. The Federal Circuit has expressly rejected

attempts, such as Vonage’s, to apply the purported prosecution disclaimers against different

claim terms that reside in different patents. Third, Vonage fails to identify any actions or

statements in the relevant file histories demonstrating that Sprint disclaimed claim scope during

prosecution of the Asserted Patents. Without any disclaimer of claim scope, Vonage’s attempt to

apply the doctrine of prosecution history is futile.

                A.     The ‘301 Family Patents Are Not Related to the ‘605 Family Patents

                 Each of Vonage’s prosecution history arguments against the ‘301 Family Patents

are explicitly predicated on the notion that the ‘301 Family Patents are related to the ‘605 Family

Patents.    See Doc. No. 354 at 18-20.        Because these patent families are not related, the

prosecution history of the ‘605 Family Patents is irrelevant to the ‘301 Family Patents.

                By way of context, the application that matured into the ‘301 Patent mistakenly

included a cross-reference to the ‘605 Application. See Ex. A, Excerpt from ‘301 Patent As-

Filed Specification. This mistake was recognized during prosecution of the application, and the

cross-reference was deleted in response to an Office Action dated April 16, 1997. See Ex. B,

Excerpt from Patentee’s April 16, 1997 Amendment. Despite this correction, the language

“Continuation-in-part of application No. 08/238,605, May 5, 1994, abandoned” erroneously

appeared on the face of the issued ‘301 Patent. See Ex. C, Title Page of the ‘301 Patent.

Recognizing this mistake, the PTO issued a Certificate of Correction indicating that the ‘301

Patent’s cross-reference to the ‘605 Application was a typographical error that has been deleted.



                                                 -2-
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 3 of 15




See Ex. D, ’301 Patent Certificate of Correction (removing all references to the ‘605

Application).

                A Certificate of Correction may be used by a patentee to correct “a mistake of a

clerical or typographical nature, or of minor character” so long as the correction “does not

involve such changes in the patent as would constitute new matter or would require re-

examination.” Cent. Admixture Pharm. Serv., Inc. v. Advanced Cardiac Solutions, P.C., 482

F.3d 1347, 1353 (Fed. Cir. 2007); see 35 U.S.C. § 255. The issued patent, combined with the

Certificate of Correction, has the same effect and operation as if the patent had been originally

issued in the corrected form. Id.; Novo Indus., L.P. v. Micro Molds Corp., 350 F.3d 1348, 1356

(Fed. Cir. 2003).    Having corrected the erroneous claim of priority with a Certificate of

Correction, the ‘301 Patent must be treated as if it was originally issued with no such reference to

the ‘605 Application. Id. Thus, the ‘301 Patent is not a continuation-in-part of the ‘605

Application. Likewise, each of the ‘301 Family Patents asserted in this action have similar

Certificates of Correction removing any claim of priority to the ‘605 Family Patents. See Ex. E,

Patent Certificates of Correction for the ‘294 patent, the ‘064 patent and the ‘429 patent. These

Certificates of Correction were attached to the Asserted Sprint Patents.

                Though Vonage attempts to rely on the file history of the‘605 Family Patents to

limit the unrelated ‘301 Family Patents, the Federal Circuit has consistently held that the

prosecution history of an unrelated patent cannot be used as a basis for applying prosecution

history estoppel. Abbott Labs. v. Dey, L.P., 287 F.3d 1097, 1105 (Fed. Cir. 2002) (vacating the

district court’s order and holding that arguments made during prosecution of a commonly-owned

but unrelated patent did not create prosecution history estoppel); Sextant Avionique S.A. v.

Analog Devices, Inc., 172 F.3d 817, 836 (Fed. Cir. 1999) (Smith J., dissenting) (“We have never



                                               -3-
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 4 of 15




based a finding of prosecution history estoppel on a statement made by a different applicant

during prosecution of an unrelated application, nor have we ever hinted that competitors should

examine the file histories of applications other than the one in suit in order to determine the

scope of equivalents that may be accorded the patent”); Laitram Corp. v. Cambridge Wire Cloth

Co., 863 F.2d 855, 862 n.16 (Fed. Cir. 1989) (finding no estoppel between two commonly owned

patents); see Goldenberg v. Cytogen, Inc., 373 F.3d 1158, 1167-68 (Fed. Cir. 2004) (holding that

statements in another patent’s prosecution history is irrelevant to claim construction “[a]bsent a

formal relationship or incorporation during prosecution” of the patent at issue). Applying this

well settled law, statements made during prosecution of the ‘605 Family Patents are wholly

irrelevant to the unrelated ‘301 Family Patents. Abbott Labs., 287 F.3d at 1105. Accordingly,

the Court should reject Vonage’s mistaken attempt to limit the scope of U.S. Patent Nos.

6,665,294, 6,473,429, and 6,298,064 (the Asserted ‘301 Family Patents) because the prosecution

history of the ‘605 Family Patents is irrelevant.

                B.     The Purported Prosecution Disclaimers are Directed to Claim Terms
                       that are Not Included in the Asserted Patents

                Even assuming the ‘301 Family Patents were related to the ‘605 Family Patents—

which they are not—Vonage’s prosecution history arguments still fail because the purported

prosecution disclaimers do not relate to any claims terms present in the asserted claims of the

‘301 Family Patents.     As the Federal Circuit has repeatedly explained, where an alleged

prosecution disclaimer involves certain claim terms in a parent application, and those claim

terms are not present in the claims of an asserted patent, any arguments in the parent application

are inapplicable to the asserted patent. Saunders Group, Inc. v. Comfortrac, Inc., 492 F.3d 1326

(Fed. Cir. 2007) (reversing the district court’s interpretation and holding that “[w]hen the

purported disclaimers are directed to specific claim terms that have been omitted or materially


                                                -4-
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 5 of 15




altered in subsequent applications (rather than to the invention itself) those disclaimers do not

apply”); see also Ventana Med. Sys. v. Biogenex Labs., 473 F.3d 1173, 1182 (Fed. Cir. 2006)

(“[T]he doctrine of prosecution disclaimer generally does not apply when the claim term in the

descendant patent uses different language”); Invitrogen Corp. v. Clontech Labs., Inc., 429 F.3d

1052, 1078 (Fed. Cir. 2005) (“[T]he prosecution of one claim term in a parent application will

generally not limit different claim language in a continuation application”); Advanced

Cardiovascular Sys. v. Medtronic, Inc., 265 F.3d 1294, 1305-06 (Fed. Cir. 2001) (holding that a

prosecution history disclaimer argument is inapplicable to a child application where the relevant

claim term was omitted).

                Here, even assuming the ‘301 Patent was a continuation-in-part of the ‘605

Application, and even assuming claim scope was disclaimed during prosecution of those

applications, Vonage’s prosecution history disclaimer argument would be inapplicable to the

Asserted ‘301 Family Patents because disclaimed scope would have been directed to the claim

limitations “ATM interworking multiplexer,” “virtual connections,” and “a network element to

provide egress from a packet communication system.” See Doc. No. 354 at 18 and 20. These

claim elements are not recited in any of the asserted claims from the ‘301 Family Patents. Thus,

any purported disclaimers are irrelevant. Ventana Med. Sys., 473 F.3d at 1182. As dictated by

controlling Federal Circuit authority, Vonage’s prosecution history estoppel arguments must fail

because the alleged prosecution history disclaimer is inapplicable when, as is the case here, the

disclaimer is directed to a claim limitation that is different than the limitation-at-issue.

                C.      Vonage Fails to Identify Any Prosecution History Disclaimers

                In addition to the above mentioned deficiencies in Vonage’s prosecution history

arguments, Vonage’s arguments also fail because Vonage has not identified any actions or



                                                 -5-
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 6 of 15




statements in the relevant file histories demonstrating that Sprint disclaimed claim scope during

prosecution of the Asserted Patent Families.

                Vonage relies on two portions of the ‘605 Patent Family prosecution in an attempt

to show that Sprint surrendered claim scope that may not be recaptured under the doctrine of

equivalents. See Doc. No. 354 at 18-19 and 20-21. Vonage first argues that the application that

matured into the ‘301 Patent was filed with narrower claims to avoid a prior art rejection pending

against the ‘605 Application.     Id. at 18-19.   Vonage’s argument is misplaced because the

application that matured into the ‘301 Patent never properly claimed priority to the ‘605

Application. See Ex. D. Indeed, Vonage has not and cannot cite any authority supporting the

imposition of prosecution history estoppel based on the filing of an unrelated application.

                Vonage also quotes statements made in the file history of the ‘605 Family Patents

in an attempt to apply the doctrine prosecution history disclaimer. See Doc. No. 354 at 20-21.

For prosecution disclaimer to attach, the Federal Circuit requires that “the alleged disavowing

actions or statements made during prosecution be both clear and unmistakable.” See Omega

Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314, 1325-26 (Fed. Cir. 2003). In attempting to meet this

high standard, Vonage grossly mischaracterizes the ‘605 Family Patents’ file history.

                Contrary to Vonage’s allegations, the quoted language from the file history

clearly does not draw a fundamental distinction between ATM connections and network

elements. See Doc. No. 354 at 20. Rather, this language merely distinguishes the disclosure of

the prior art reference LaPorta from the claim language. See id.1 These statements fail to reveal


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       In the portion of the file history relied upon by Vonage, Sprint stated that the prior art
       reference LaPorta’s ATM connections identified “an output VPI/VCI for routing ATM
       cells out of the ATM switch.” Doc. No. 354 at 20. Because the ATM connections were
       used for routing cells out of the ATM switch, Sprint pointed out that the ATM
       connections did not identify the claimed “network element to provide egress from the
       packet communication system.” Id.

                                               -6-
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 7 of 15




any disclaimer of claim scope, much less the clear and unmistakable disavowal of claim scope

necessary to apply the doctrine of prosecution disclaimer. See Omega Eng’g, Inc. v. Raytek

Corp., 334 F.3d 1314, 1325-26 (Fed. Cir. 2003) (“for prosecution disclaimer to attach, our

precedent requires that the alleged disavowing actions or statements made during prosecution be

both clear and unmistakable.”); Cordis Corp. v. Medronic Ave, Inc., 339 F.3d 1352, 1359 (Fed.

Cir. 2003) (finding no disclaimer because “the statements in the prosecution history are subject

to multiple reasonable interpretations, they do not constitute a clear and unmistakable departure

from the ordinary meaning of the term [at issue]”).

           II.   SPRINT IS NOT PRECLUDED FROM ITS CLAIM OF EQUIVALENTS
                 UNDER THE ‘561 PATENT

                 In addition to its arguments aimed at the ‘301 Patent Family, Vonage also alleges

that Sprint is precluded from asserting infringement by equivalents for the “to select a network

code that identifies a network element to provide egress for user communication from the packet

communication system” limitation of the ‘561 patent. Doc. No. 354 at 21-25. Vonage argues

that “based on the prosecution of the application for the ‘052 Patent, Sprint is barred as a matter

of law from recapturing surrendered claim scope of the selecting a network element limitation in

the ‘561 Patent under the doctrine equivalents to cover the selection of the network code of an

RTP relay.” Id. at 25. Vonage’s arguments ignore controlling Supreme Court and Federal

Circuit precedent, as well as its own statements regarding the equivalents-in-question.

                  The Federal Circuit has consistently held that courts must engage in a multi-step

inquiry when applying the doctrine of prosecution history estoppel. See Festo Corp. v. Shoketsu

Kinzoku Kogyo Kabushiki, Co., 344 F.3d 1359, 1366 (Fed. Cir. 2003) (“Festo IX”). The “first

question in a prosecution history estoppel inquiry is whether an amendment filed in the Patent

and Trademark Office (“PTO”) has narrowed the literal scope of a claim.” Id. (citing Pioneer


                                                -7-
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 8 of 15




Magnetics, Inc. v. Micro Linear Corp., 330 F.3d 1352, 1356 (Fed. Cir. 2003). If “the accused

infringer establishes that the amendment was a narrowing one, then the second question is

whether the reason for that amendment was a substantial one relating to patentability.” Id. In

the case that a narrowing amendment has been made for a substantial reason relating to

patentability, “then the third question in a prosecution history estoppel analysis addresses the

scope of the subject matter surrendered by the narrowing amendment. Id. at 1367 (citing

Pioneer Magnetics, 330 F.3d at 1357). At that point, a rebuttable presumption arises that the

patentee has surrendered all territory between the original claim limitation and the amended

claim limitation. See Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki, Co., 535 U.S. 722, 740

(2002) (“Festo VIII”). If the patentee successfully rebuts the presumption, then prosecution

history estoppel does not apply and the question whether the accused element is in fact

equivalent to the limitation at issue is reached on the merits. Festo IX, 344 F.3d at 1367.

                The Supreme Court has identified various criterion by which a patentee may

overcome the presumption that he surrendered claim scope. Festo VIII, 535 U.S. at 740-41. One

of these criterion requires the patentee demonstrate that the alleged equivalent would have been

“unforeseeable” at the time of the narrowing amendment.            Id.   This criterion presents an

objective inquiry, asking whether the alleged equivalent would have been unforeseeable to one

of ordinary skill in the art at the time of the amendment. Id. at 738. As the Federal Circuit has

explained, “if the alleged equivalent represents later-developed technology or technology that

was not known in the relevant art, then it would not have been foreseeable.” Festo IX, 344 F.3d

at 1369. In contrast, “if the alleged equivalent were known in the prior art in the field of the

invention, it certainly should have been foreseeable at the time of the amendment.” Id. (citing

Pioneer Magnetics, 330 F.3d at 1357). By its very nature, “objective unforeseeability depends



                                                -8-
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 9 of 15




on underlying factual issues relating to, for example, the state of the art and the understanding of

a hypothetical person of ordinary skill in the art at the time of the amendment.” Id. Therefore,

the Federal Circuit has stated that in “determining whether an alleged equivalent would have

been unforeseeable, a district court may hear expert testimony and consider extrinsic evidence

relating to the relevant factual inquiries.” Id.

                In this case, the alleged equivalent involves Vonage’s use of an RTP Relay to

maintain communications with a Vonage customer’s TA that is behind a router that employs

Network Address Translation (NAT). See Doc No. 354 at 24; Doc. No. 264 at 51-54. As

explained by the Court:

                For a NAT’d inbound call, the processing system instructs the
                media gateway to address its user communication packets to the IP
                address of an RTP relay. The RTP relay then re-addresses the
                received packets to the TA that the Vonage processing system
                selected. Packets from the Vonage gateways addressed to a
                specific IP address of an RTP relay are correspondingly sent to the
                IP address that identifies the TA. . . . The use of an RTP relay is
                entirely invisible to the endpoint devices as well as to the end users
                of the telephone system, as the called and calling parties cannot tell
                whether a call is NAT’d. The TA and media gateway operate in the
                same manner regardless of whether RTP relays are involved.

Doc. No. 264 at 18. Vonage’s arguments that Sprint is precluded from asserting infringement

under the doctrine of equivalents for NAT’d calls ignore Sprint’s ability to overcome the Festo

presumption. See Festo IX, 344 F.3d at 1369. In fact, Vonage’s own statements demonstrate

that the use of a RTP relay for NAT’d calls “would have been unforeseeable at the time of the

narrowing amendment.” Id.

                Vonage has consistently stated that the use of an RTP relay for NAT’d calls is

propriety technology developed by Vonage. During his deposition, Vonage’s CEO, Jeffery

Citron, testified that the “SIP-thru-NAT” technology that uses an RTP relay with NAT’d calls

was developed by Vonage in 2002. See Ex. F, Excerpt from Deposition Transcript of Jeffery


                                                   -9-
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 10 of 15




Citron, pp. 51-53. One of Vonage’s founders, Louis Holder, echoed Mr. Citron’s testimony and

stated that he was one of the developers of the “SIP-thru-NAT” technology. See Ex. G, Excerpt

from Deposition Transcript of Louis Holder, pp. 87-88; see also Ex. H, Excerpt from Deposition

Transcript of Louis Mamakos, pp. 133-134 (confirming that the “SIP-thru-NAT” technology was

developed by Vonage). In fact, Mr. Holder is listed as the inventor on a patent application

directed to Vonage’s “SIP-thru-NAT” technology.           See Ex. I, U.S. Patent Publ. No.

2005/0083908. In this patent application, Mr. Holder describes problems in the art when a NAT

is employed. Id. at paras. 5- 7. To solve these problems, Mr. Holder discloses a system, such as

Vonage’s, in which an RTP rely is utilized to maintain communications despite the existence of

the NAT. Id. at paras. 16-19; compare Figure 2 (depicting a prior art architecture) with Figure 3

(depicting Mr. Holder’s invention, which adds the RTP Relay 90 to the architecture). Mr.

Holder’s patent application was filed on October 15, 2003. Id.

                As Vonage’s own admissions and patent application demonstrate, the use of an

RTP relay to enable NAT’d calls embodies technology developed by Vonage in 2002 or later,

and, thus, such technology “would have been unforeseeable to one of ordinary skill in the art at

the time of the amendment,” i.e., in September of 2001. See Festo IX, 344 F.3d at 1369.

Because Vonage did not apply for a patent on its RTP relay technology until October 15, 2003,

Vonage certainly cannot now contend that such technology was known in the art in 2001.2 As

set forth by the Supreme Court, a showing that the alleged equivalent represents unforeseeable,

later-developed technology forecloses the application of the doctrine of prosecution history


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       Though the Federal Circuit has stated that courts may hear expert testimony regarding the
       unforeseeability of the alleged equivalent, Festo IX, 344 F.3d at 1369, Vonage’s failure to
       raise its prosecution history arguments until trial precluded Sprint from offering such
       expert testimony. Nevertheless, Vonage’s own admissions regarding the development of
       its “SIP-thru-NAT” technology conclusively demonstrate the unforeseeable nature of the
       equivalents-in-question.

                                             - 10 -
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 11 of 15




estoppel. Festo VIII, 535 U.S. at 738-41. Sprint has made the required showing, and, thus,

Vonage’s attempt to preclude the application of the doctrine of equivalents must fail.

        III.    THE COURT HAS ALREADY REJECTED VONAGE’S “DISCLOSURE-
                DEDICATION” ARGUMENTS

                In its final attempt to avoid infringement under the doctrine of equivalents,

Vonage rehashes “disclosure-dedication” arguments previously presented in its Motion for

Summary Judgment. See Doc. No. 354 at 25-28. In denying Vonage’s summary judgment

motion, the Court fully considered and rejected Vonage’s “disclosure-dedication” arguments.

See Doc. No. 264 at 43-45.

                Under the disclosure-dedication rule, disclosed but unclaimed subject matter is

dedicated to the public. Johnson & Johnston Assocs. Inc. v. R.E. Serv. Co., 285 F.3d 1046, 1054

(Fed. Cir. 2002). To deem subject matter dedicated to the public, however, the disclosure must

be “of such specificity that one of ordinary skill in the art could identify the subject matter that

had been disclosed and not claimed.” PSC Computer Products, Inc. v. Foxconn International,

Inc., 355 F.3d 1353, 1360 (Fed. Cir. 2004). In addition, the unclaimed subject matter “must have

been identified [in the patent] as an alternative to a claim limitation.” Pfizer, Inc. v. Teva

Pharmaceuticals USA, Inc., 429 F.3d 1364, 1379 (Fed. Cir. 2005).

                With respect to claim 18 of the ‘932 patent, Vonage argues that Sprint is

precluded from asserting that the claimed step of selecting a narrowband switch is met under the

doctrine of equivalents by virtue of the “disclosure-dedication” rule. Doc. No. 354 at 25-28.

Vonage’s argument suffers from two fatal flaws. First, “selection of a connection” was, in fact,

claimed, since the ‘932 Patent discloses that the selection of a connection is the “same thing” as

selection of a narrowband switch. ‘932 Patent, at Col. 7, ll. 10-15. Considering this disclosure

by the ‘932 patent, the Court concluded, “Far from disclosing that this subject matter is


                                               - 11 -
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 12 of 15




unclaimed, it discloses that this matter is, to the contrary, claimed.” Doc. No. 264 at 44.

(emphasis added).      Accordingly, the “selection of a connection” is not “identified as an

alternative to a claim limitation,” as required by Pfizer, Inc., 429 F.3d at 1379.

                Second, the ‘932 Patent does not disclose “selection of a connection”

(independent of the selection of a network element) at all, much less with the requisite

specificity. In considering and rejecting this argument, the Court stated, “The written description

of the ‘932 Patent falls far short of disclosing the “selection of a connection” with the requisite

specificity that one of ordinary skill in the art would understand it to be unclaimed subject

matter.” Doc. No. 264 at 44 (emphasis added). Nevertheless, Vonage continues to advance the

same arguments but presents no new evidence justifying reconsideration of the Court’s Summary

Judgment Order. In fact, Vonage relies on the same two citations from the ‘932 Patent it

identified in its summary judgment briefing to support its argument. See Doc. No. 354 at 21-22.

In the first, the ‘932 Patent refers to a selection of both the network elements and the connections

of the communication path. See ‘932 Patent, at Col. 6, ll. 23-25. In the second, the ‘932 Patent

further refers to a selection of only the network elements, and not the connections. See ‘932

Patent, at Col. 6, ll. 62-63. Considering these citations, the Court explained:

                Vonage relies on two disclosures in the specification. One states
                that in one embodiment, the processing system “selects the
                network elements and the connections that comprise the
                communications path.” ‘932 Patent, col. 6, ll. 23-25. The other
                states that in another embodiment, the processing system “may
                select only the network elements and not the connections.” Id. col.
                6, ll. 62-63. Vonage’s argument does not account for the clarity of
                the language in the next paragraph, quoted above, that there are
                situations “in which the selection of a network element and the
                selection of a connection signify the same thing.” Id. col. 7, ll. 10-
                12.

Doc. No. 264 at 44 (emphasis in original). Accordingly, Vonage’s continued reliance on these

citations to the ‘932 patent’s specification is misplaced and must be rejected.


                                                - 12 -
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 13 of 15




                In addition, Vonage now makes the untenable argument that the terms “signify”

and “effectively” in the specification somehow demonstrate an intent to distinguish the action of

selecting a network element from the action of selecting a connection. See Doc. No. 354 at 27

(quoting the ‘932 patent at col. 7, ll. 10-19). The Court, however, has already considered the

very paragraph in which these terms appear and concluded that the specification “discloses that

this matter is, to the contrary, claimed.” Doc. No. 264 at 44 (emphasis added). The Court’s

conclusion that the action of selecting a connection is “claimed” forecloses any arguments that

this action was dedicated to the public.3

                In sum, the ‘932 patent does not disclose the mere “selection of a connection,” as

suggested by Vonage. Indeed, one of ordinary skill in the art could not “identify the subject

matter that had been disclosed and not claimed.” PSC Computer Products, Inc, 355 F.3d at

1360. Because Sprint did not disclose the “selection of a connection” separate and apart from a

selection of a narrowband switch, the disclosure-dedication rule has no impact on the

straightforward doctrine of equivalents analysis. Vonage’s attempt to limit application of the

doctrine of equivalents with respect to the ‘932 patent should be rejected.

        IV.     CONCLUSION

                For the foregoing reasons, Sprint respectfully requests that the Court reject

Vonage’s arguments attempting to preclude the application of the doctrine of equivalents.




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       Vonage also cites claim language from the ‘561 patent in an attempt to support the
       application of the disclosure-dedication rule to the ‘932 patent. See Doc. No. 354 at 23.
       Vonage advances no authority in support of its attempt to rely on claims from a different
       patent to support the application of the disclosure-dedication rule. Nevertheless, the
       claim language identified by Vonage does not disclose selection of a connection that is
       independent of the selection of a network element, at all, much less with the requisite
       specificity.

                                               - 13 -
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 14 of 15




                                                 Respectfully submitted,


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                                        - 14 -
254602v1
           Case 2:05-cv-02433-JWL Document 377 Filed 09/14/07 Page 15 of 15




                                CERTIFICATE OF SERVICE

I hereby certify that on this 14th day of September, 2007, a true and accurate copy of the above
and foregoing SPRINT’S RESPONSE IN OPPOSITION TO VONAGE’S TRIAL BRIEF
REGARDING THE APPLICATION OF THE DOCTRINE OF EQUIVALENTS was e-
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                                              - 15 -
254602v1
